[Cite as State v. Flitcraft, 2024-Ohio-3146.]



                  IN THE COURT OF APPEALS OF OHIO
                             ELEVENTH APPELLATE DISTRICT
                                    LAKE COUNTY

STATE OF OHIO,                                      CASE NO. 2023-L-113

                  Plaintiff-Appellee,
                                                    Criminal Appeal from the
         - vs -                                     Court of Common Pleas

STEPHEN R. FLITCRAFT,
                                                    Trial Court No. 2022 CR 001230
                  Defendant-Appellant.


                                                OPINION

                                        Decided: August 19, 2024
                                          Judgment: Affirmed


Charles E. Coulson, Lake County Prosecutor, and Jennifer A. McGee and Adam M.
Downing, Assistant Prosecutors, Lake County Administration Building, 105 Main Street,
P.O. Box 490, Painesville, OH 44077 (For Plaintiff-Appellee).

Eric M. Levy, 55 Public Square, Suite 1600, Cleveland, OH 44113 (For Defendant-
Appellant).


JOHN J. EKLUND, J.

        {¶1}      Stephen Flitcraft (“Appellant”) appeals his convictions after being found

guilty by jury trial on eight counts. Appellant raises nine assignments of error in support

of his appeal. He asserts that the State did not present sufficient evidence to support his

convictions, that his convictions were against the manifest weight of the evidence, a

variety of evidentiary issues, and ineffective assistance of counsel claims.

        {¶2}      For the following reasons, the lower court’s judgment is affirmed.
                            Factual and Procedural History

       {¶3}   On March 17, 2023, the Lake County Grand Jury indicted Appellant on eight

counts, alleging Appellant, on October 29, 2022, committed: (1) Attempted Murder, a first-

degree felony in violation of R.C. 2923.02; (2) two counts of Aggravated Robbery, first-

degree felonies in violation of R.C. 2911.01(A)(1)&amp;(3); (3) Robbery, a second-degree

felony in violation of R.C. 2911.02(A)(1) with a Repeat Violent Offender specification

pursuant to R.C. 2929.14(B)(2)(a); and (4) four counts of Felonious Assault, second-

degree felonies in violation of R.C. 2903.11(A)(2).

       {¶4}   On October 17, 2023, a jury trial commenced.

       {¶5}   Jeffery Spooner (“Spooner”) testified as a victim of the charged offenses.

He said that he had dated Appellant’s sister, Cynthia Flitcraft, “on and off” for

approximately two years. He said that approximately two weeks before the incident,

Appellant had told him that “he was going to gut me like a fish if I hurt Cindy’s feelings,”

but that he did not perceive the statement as a true threat at the time.

       {¶6}   The week before the incident, Cynthia told Spooner that she needed “some

time” away from him. Spooner testified that on October 29, 2022, he texted Cynthia and

told her he would “stop by” her residence that day to talk to her. He said that he arrived

at seven or eight in the evening. When he arrived, Cynthia and Appellant were working

in the garden. Spooner said that Appellant suggested they all go to a bar, so Spooner

drove them in his Jeep Grand Cherokee to a local bar, Toth’s Too. After approximately

forty-five minutes, they left the bar and decided to go to another bar, Witz End. Spooner

said that Cynthia asked him to park at a certain spot.



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Case No. 2023-L-113
        {¶7}    He described: “I pulled into that spot and as I’m talking to her, she kinda

looks up and I’m like ‘What?’ And [Appellant’s] in my backseat hovering over me. I mean

he stabbed me three times before I even realized what was going on.” Spooner testified

that he had tried to get out of the vehicle, but Cynthia was “leaning against the door.”

Spooner said that as he was being stabbed, Appellant told him that “he was going to

f****** kill me.” Spooner said that as he was “dodging” Appellant in the vehicle, Appellant

stabbed Cynthia “a few times.” Spooner told Appellant: “Dude, you’re stabbing your sister

too.” After that, Appellant “calmed down,” stopped stabbing him, left the vehicle, and

cleaned the knife. Spooner testified that he was stabbed in his “heart, liver, just all over

myself.”

        {¶8}    Spooner explained that Appellant then reentered the vehicle and asked him

to drive. Spooner drove them “up the road” to “the end of Garden Road and Lakeshore”

Blvd. Appellant and Cynthia exited the vehicle, and Appellant told Spooner “We are going

to need your keys and wallet.” Spooner complied because he “wanted [Appellant] away

from me.” Spooner said he then drove his vehicle to Cynthia’s driveway.1 Spooner

testified that he was “in and out of consciousness,” but that he remembers an officer

approaching his vehicle. Spooner told the officer “[Appellant] did it" and then “passed

out.”

        {¶9}    Todd Van Allen testified that he had been dating Cynthia Flitcraft “on and

off” for nine years, but, at the time of the incident, they were friends. He said that at

approximately 11:30 p.m. on the evening of October 29, 2022, he saw Cynthia standing




1. Spooner explained that he was able to drive away without his keys because his vehicle is a “push start”
vehicle and will continue to run for a certain amount of time without the keys in the vehicle.
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Case No. 2023-L-113
outside his front door. He described that she was intoxicated, “pale as a ghost,” there

was “blood profusely dripping down her arm,” her clothes were “saturated” with blood,

and she had marks on her arms that looked like she had been stabbed. Mr. Van Allen

asked Cynthia what had caused her injuries and she “mumbled something about a car

accident.” He said that he did not believe her injuries were consistent with being in a car

accident. He testified that Cynthia was in the bathroom and became non-responsive, so

he called 9-1-1. Responding officers asked him where she resided, and he told them her

address. He testified that while the officers questioned Cynthia at his residence, the

officers arrived at Cynthia’s residence on Garden Road and that’s when “all hell broke

loose” and the officers arrested her.

       {¶10} Sergeant Bradley Impala testified that he began investigating a “possible

traffic incident” reported by Cynthia Flitcraft on October 29, 2022, at 11:48 p.m. Sergeant

Impala arrived at Garden Road to look for signs of a possible car crash. He observed a

“jeep with its lights on running close to the road.” He initially left the area, but returned to

the jeep when he learned through a dispatch call that it was parked at Cynthia Flitcraft’s

residence. Sergeant Impala approached the passenger side of the vehicle and saw

Spooner in the driver’s seat, who appeared “unconscious,” “sweating profusely,” with

blood on himself and his clothes. Sergeant Impala “shook” Spooner and he regained

consciousness long enough to tell the Sergeant that he had been stabbed. Sergeant

Impala called for an ambulance to arrive. Once Spooner was in the ambulance, he again

regained consciousness and told Sergeant Impala that Appellant had stabbed him.

Sergeant Impala notified the police department that Appellant was a possible suspect.

He testified that he learned on October 30, 2022, that Appellant had been found and was

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Case No. 2023-L-113
in police custody between 4:00 a.m. and 4:30 a.m. Sergeant Impala went to where

Appellant was in custody and transported him to jail. Sergeant Impala said that Appellant

appeared intoxicated and stated that he had drunk “more than normal.”

        {¶11} Lieutenant John Begovic testified that he helped investigate the incident.

He testified that he collected the jeans and sweatshirt worn by Appellant when he was

arrested. Lieutenant Begovic said that there were minor blood spots on both articles of

clothing. He said that one blood spot on the sweatshirt appeared as if someone had tried

cleaning the blood off. Lieutenant Begovic also testified to a phone call Appellant had

made from jail on October 30, 2022, to an unknown person. During the phone call,

Appellant stated that he did not remember anything from the night before, but that he

“apologizes” if he stabbed Spooner.

        {¶12} Cynthia Flitcraft testified as the court’s witness.2 Cynthia testified that on

October 29, 2022, she went to Toth’s Too to drink with Appellant and Spooner. But, she

said that she did not remember anything after being at the bar. Cynthia said that the next

thing she remembered from that night was walking to Todd Van Allen’s residence.

        {¶13} During her testimony, the State asked Cynthia if, in mid-October 2022,

Appellant and Spooner had almost fought in her backyard. She replied that she “wasn’t

aware of that.” The State then asked her if she recalled testifying to the event under oath

during her grand jury testimony. Cynthia admitted that she gave the testimony. The State

also asked Cynthia if she remembered telling the grand jury that she “had a feeling that




2. Prior to trial, the State moved the court to call Cynthia Flitcraft as the court’s witness. It argued that the
State was unsure whether or not her testimony would be helpful to the State’s case because they did not
know what she would testify to, and she was “aligned” with Appellant. The State therefore argued that it
was appropriate for Cynthia to be called as the court’s witness. The court granted the motion.
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Case No. 2023-L-113
something happened in front of Osborne Park.” She replied that she did. The State then

asked if she remembered telling the grand jury that she had a feeling something had

happened in Spooner’s vehicle.            She replied that she did not remember giving the

testimony because she has a “poor” memory. The State next asked if she remembered

telling the grand jury that they “stopped at the stoplight in front of Osborne Park.” She

replied that she did not remember giving the testimony. The State asked Cynthia if she

remembered telling the grand jury that she thought she received her injuries from “trying

to block something.” She replied that she did not remember giving the testimony.

        {¶14} Detective David Burrington testified that he interviewed Appellant at 9:30

a.m. on October 30, 2022. He said that he did not immediately interview Appellant upon

arrest because Appellant was intoxicated. Detective Burrington stated that Appellant had

a scratch on his face and his right hand was swollen with red dots on it.

        {¶15} The State moved to admit the recorded interview at trial and play the video

for the jury. The defense did not object. Before the hour and forty-eight minute video

played, the court instructed the jury that portions of the video had been redacted because

they were not relevant to the proceedings.3

        {¶16} While the video played, the court paused the video and asked counsel to

approach the bench. The court asked how much longer until the video was over, and the

State replied, “fourteen minutes.” The court next asked if a redacted version had been

provided to defense counsel. Counsel replied that it had. The court notified counsel that

they had “missed” a “couple things.” Specifically, the court pointed to an instance where




3. It was revealed in conversations between the court and counsel, outside of the jury’s presence, that the
video was redacted to remove any statements Appellant had made about his prior convictions.
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Case No. 2023-L-113
the statement “right before he went in” was said. The court also noted at least two

instances where Appellant said “I’ve always admit [sic] to everything I’ve done. I always

have.”    The court told counsel that further redactions would be needed before the

transcript is given to the jury for deliberation.

         {¶17} Outside of the jury’s presence, the State asked the court if it needed to

instruct the jury not to consider the portions of the recorded interview where the

statements had been made that needed to be redacted. The court allowed defense

counsel to make the decision. Defense counsel declined, stating that he did not want to

bring attention to the statements. The court agreed and explained that it did not stop the

video when the statements were made because it did not want to alarm the jury that

“something happened that shouldn’t have happened.”

         {¶18} The State rested its case. The defense moved for dismissal under Crim.R.

29. The court denied the motion. The defense did not present any evidence and rested

its case. The defense renewed its Crim.R. 29 motion. The court again denied the motion.

The jury entered deliberations and found Appellant guilty on all counts.

         {¶19} On November 3, 2023, the court held a sentencing hearing. It sentenced

Appellant to mandatory terms of imprisonment on each count to be served consecutively

for an aggregate minimum term of 36 years and a maximum term of 41.5 years.

         {¶20} Appellant timely appealed and raises nine assignments of error.

                                      Law and Analysis

         {¶21} First assignment of error: “The trial court erred in entering Aggravated

Robbery convictions absent sufficient evidence.”



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Case No. 2023-L-113
       {¶22} “‘Sufficiency’ is a term of art meaning that legal standard which is applied to

determine whether the case may go to the [factfinder] or whether the evidence is legally

sufficient to support the [factfinder's] verdict as a matter of law.” State v. Thompkins, 78

Ohio St.3d 380, 386 (1997), citing Black's Law Dictionary (6 Ed.1990) 1433. The appellate

court's standard of review for sufficiency of evidence is to determine, after viewing the

evidence in a light most favorable to the prosecution, whether a rational trier of fact could

find the essential elements of the crime proven beyond a reasonable doubt. State v.

Jenks, 61 Ohio St.3d 259 (1991), paragraph two of the syllabus.

       {¶23} When evaluating the sufficiency of the evidence, we do not consider its

credibility or effect in inducing belief. Thompkins at 387. Rather, we decide whether, if

believed, the evidence can sustain the verdict as a matter of law. Id. This naturally entails

a review of the elements of the charged offense and a review of the state's evidence.

State v. Richardson, 2016-Ohio-8448, ¶ 13.

       {¶24} Appellant specifically contends that the State did not present sufficient

evidence to convict him on Aggravated Robbery in violation of R.C. 2911.01(A)(1) and

2911.01(A)(3).

       {¶25} R.C. 2911.01(A)(1) provides: “No person, in attempting or committing a theft

offense . . . or in fleeing immediately after the attempt or offense, shall . . . Have a deadly

weapon on or about the offender's person or under the offender's control and either

display the weapon, brandish it, indicate that the offender possesses it, or use it.”

       {¶26} R.C. 2911.01(A)(3) provides: “No person, in attempting or committing a theft

offense . . . or in fleeing immediately after the attempt or offense, shall . . . Inflict, or attempt

to inflict, serious physical harm on another.”

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Case No. 2023-L-113
      {¶27} The Ohio Supreme Court has held: “For purposes of establishing the crime

of aggravated robbery, a jury is entitled to draw all reasonable inferences from the

evidence presented that the robbery was committed with the use of a [deadly weapon] . .

.” State v. Vondenberg, 61 Ohio St.2d 285 (1980), syllabus. “It is not necessary that the

defendant had actually displayed the weapon in order to establish that he had possessed

one.” State v. Knight, 2004-Ohio-1941, ¶ 17 (2d Dist.). Whether or not the State has

presented sufficient evidence of the actual possession of a deadly weapon is judged

based on the totality of the circumstances. Id., citing State v. Green, 117 Ohio App.3d

644 (1st Dist. 1996). “The factfinder may infer that the defendant possessed a deadly

weapon based on his words and conduct.” Id. at ¶ 16.

      {¶28} Appellant argues that there was not sufficient evidence to convict him

because the theft offense occurred after Spooner had been stabbed and drove his vehicle

to a new location.

      {¶29} Under R.C. 2911.01(A)(1), there was sufficient evidence for a jury to find

that Appellant committed a theft offense (taking Spooner’s wallet and keys) while having

a deadly weapon (the knife) in his control and while either using the knife or indicating

that he possessed it. There was circumstantial evidence from which a reasonable jury

could infer, through Appellant’s conduct just moments prior, that Appellant possessed the

knife. Appellant’s actions indicated that he possessed it (and used it) when he stabbed

Spooner. Spooner testified Appellant stabbed him in the car. Spooner drove the vehicle

at Appellant’s direction “up the street” before he surrendered his wallet and keys to

Appellant. However, there was no evidence to counter the reasonable inference that

Appellant still possessed the knife. Neither Spooner nor Cynthia testified that Appellant

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Case No. 2023-L-113
discarded the weapon. Spooner only saw Appellant clean the knife. Spooner testified

that he gave Appellant his wallet and keys because he wanted Appellant “away from him”

since Appellant had stabbed him. Appellant had used the knife; and there was no

evidence that he had dispossessed himself of it prior to demanding Spooner’s wallet and

keys. A reasonable jury could infer he indicated that he possessed a deadly weapon or

at least possessed one at the time of the offense.

      {¶30} In regard to R.C. 2911.01(A)(3), there was sufficient evidence for a jury to

find that Appellant committed a theft offense while inflicting serious physical harm on

Spooner. Appellant again argues that the stabbing occurred “well prior” to the theft

offense. But, the evidence demonstrates that the stabbing and the theft occurred within

minutes of one another. The surveillance video from the Witz End parking lot (where

Spooner asserts he was stabbed) shows Spooner’s jeep leaving at 11:15 p.m. Another

surveillance video shows Spooner’s jeep arriving at Garden Road at 11:18 p.m. With

only minutes (at the most) in between the stabbing and the theft, a jury could find there

was sufficient evidence that the events were a continuous sequence of events.

      {¶31} The State also presented evidence that contradicted Spooner’s testimony

that he was stabbed in the Witz End parking lot, indicating that it may have happened

after they left the parking lot when Appellant committed the theft. Lieutenant Begovic

testified that he had searched the parking lots of both bars on October 30, 2022, to see if

there was any evidence of the stabbing. He noted that it was “significant” that there was

not any blood found at either parking lot. Lieutenant Begovic opined that the stabbing

occurred “somewhere else.” Courtney Eggers testified that on October 29, 2022, she

was walking on Lakeshore Blvd. past J.T.’s diner, which the evidence showed was near

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Case No. 2023-L-113
the intersection of Lakeshore Blvd. and Garden Road at approximately 11:15-11:20 p.m.,

when she heard someone screaming. Notably, Lakeshore Blvd. is where Spooner stated

that Appellant demanded, and took, his keys and wallet.

       {¶32} Viewing the evidence in a light most favorable to the prosecution, a

reasonable jury could have found beyond a reasonable doubt that the State had proven

each element of the crimes.

       {¶33} Appellant’s first assignment of error is without merit.

       {¶34} Second assignment of error: “The trial court erred in entering

convictions against [Appellant] which were against the manifest weight of the

evidence.”

       {¶35} “When reviewing for manifest weight, the appellate court must weigh the

evidence and all reasonable inferences, consider the credibility of the witnesses, and

determine whether, in resolving conflicts in the evidence, the finder of fact clearly lost its

way and created such a manifest miscarriage of justice that the judgment must be

reversed and a new trial ordered.” In re Z.C.,2023-Ohio-4703, ¶ 14. “In weighing the

evidence, the court of appeals must always be mindful of the presumption in favor of the

finder of fact.” Eastley v. Volkman, 2012-Ohio-2179, ¶ 21. The trier of fact is the sole

judge of the weight of the evidence and the credibility of the witnesses. State v.

Landingham, 2021-Ohio-4258, ¶ 22 (11th Dist.) quoting State v. Antill, 176 Ohio St. 61,

67 (1964).

       {¶36} “The underlying rationale of giving deference to the findings of the trial court

rests with the knowledge that the [fact finder] is best able to view the witnesses and

observe their demeanor, gestures and voice inflections, and use these observations in

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Case No. 2023-L-113
weighing the credibility of the proffered testimony.” Seasons Coal Co., Inc. v. Cleveland,

10 Ohio St.3d 77, 80 (1984).

       {¶37} The trier of fact may believe or disbelieve any witness in whole or in part,

considering the demeanor of the witness and the manner in which a witness testifies, the

interest, if any, of the outcome of the case and the connection with the prosecution or the

defendant. Id., quoting Antill at 67.

       {¶38} “The discretionary power to grant a new trial should be exercised only in the

exceptional case in which the evidence weighs heavily against the conviction.” State v.

Martin, 20 Ohio App. 3d 172, 175 (1st Dist. 1983).

       {¶39} Under his second assignment of error, Appellant argues that his convictions

were against the manifest weight of the evidence only because, he asserts, the stabbing

was not a voluntary act because he was intoxicated.

       {¶40} R.C. 2901.21(E) provides: “Voluntary intoxication may not be taken into

consideration in determining the existence of a mental state that is an element of a

criminal offense. Voluntary intoxication does not relieve a person of a duty to act if failure

to act constitutes a criminal offense. Evidence that a person was voluntarily intoxicated

may be admissible to show whether or not the person was physically capable of

performing the act with which the person is charged.”

       {¶41} Involuntary acts are defined as “[r]eflexes, convulsions, body movements

during unconsciousness or sleep, and body movements that are not otherwise a product

of the actor's volition.” R.C. 2901.21(D)(2).

       {¶42} Appellant’s sole argument is that his stabbing Spooner was not done

voluntarily because his intoxication rendered him “unconscious.” Yet, there is nothing in

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Case No. 2023-L-113
the record to support that Appellant was unconscious. Appellant argues that he did not

remember stabbing Spooner. But, the record demonstrates otherwise. Appellant’s video

recorded interview shows that he clearly remembered the details of the night until he

stabbed Spooner. Spooner’s testimony did not suggest that Appellant was unconscious,

but that he “calmed down” after realizing he had also stabbed Cynthia.

      {¶43} There is also evidence that Appellant was not unconscious minutes before

he stabbed Spooner. Gina Margroff, the bartender who served Appellant at Toth’s Too,

testified that he entered the bar at “roughly” 10:30 p.m. on October 29, 2022, with Cynthia

and Spooner. She said that when they left, no one appeared any more intoxicated than

when they entered, “or walking or tripping. They weren’t belligerent. Nothing of that

nature to me.” Margroff testified that they left between 11:00 p.m. and 11:15 p.m. There

is surveillance video from Witz End and Garden Rd. to suggest that Spooner had been

stabbed between 11:15 p.m. and 11:18 p.m. It is not reasonable to infer the Appellant

could have become so intoxicated between leaving the bar and stabbing Spooner as to

render himself unconscious.

      {¶44} The manifest weight of the evidence supports a reasonable jury finding that

Appellant was not unconscious when he stabbed Spooner.

      {¶45} Appellant’s second assignment of error is without merit.

      {¶46} Third assignment of error: “The trial court erred and entered a

sentence contrary to law where a mandatory sentence was imposed on the

Felonious Assault conviction prejudicing [Appellant] by denying him any future

opportunity to file for judicial release.”

      {¶47} R.C. 2953.08 governs our standard of review and provides:

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Case No. 2023-L-113
             The appellate court may increase, reduce, or otherwise
             modify a sentence that is appealed under this section or may
             vacate the sentence and remand the matter to the sentencing
             court for resentencing. The appellate court's standard for
             review is not whether the sentencing court abused its
             discretion. The appellate court may take any action authorized
             by this division if it clearly and convincingly finds either of the
             following:

             (a)    That the record does not support the sentencing court's
             findings under division (B) or (D) of section 2929.13, division
             (B)(2)(e) or (C)(4) of section 2929.14, or division (I) of section
             2929.20 of the Revised Code, whichever, if any, is relevant;

             (b)      That the sentence is otherwise contrary to law.

      {¶48} Appellant argues that his sentence was contrary to law because it imposed

a mandatory prison term pursuant to R.C. 2929.13(F)(6). Appellant asserts that R.C.

2929.13(F)(4) exclusively allows a court to issue a mandatory prison term for Felonious

Assault pursuant to R.C. 2903.11.

      {¶49} R.C. 2929.13(F) provides in relevant part,

             Notwithstanding divisions (A) to (E) of this section, the court
             shall impose a prison term or terms . . . for any of the following
             offenses:

             (4)    A felony violation of section 2903.04, 2903.06,
             2903.08, 2903.11, 2903.12, 2903.13, 2905.32, 2907.07,
             2921.321, or 2923.132 of the Revised Code if the section
             requires the imposition of a prison term;

             (6)     Any offense that is a first or second degree felony and
             that is not set forth in division (F)(1), (2), (3), or (4) of this
             section, if the offender previously was convicted of or pleaded
             guilty to aggravated murder, murder, any first or second
             degree felony, or an offense under an existing or former law
             of this state, another state, or the United States that is or was
             substantially equivalent to one of those offenses[.]

      {¶50} Appellant argues that the trial court must sentence a defendant to a

mandatory prison sentence for Felonious Assault only under R.C. 2903.11. Appellant
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Case No. 2023-L-113
correctly observes that this court has not ruled on the interplay between R.C.

2929.13(F)(4) and (6). However, other appellate courts in this State have and their

analyses are persuasive, and we adopt them.

      {¶51} In State v. Clark, 2006-Ohio-6068 (2d Dist.), the Second District Court of

Appeals directly addressed this question, holding:

             R.C. 2903.11(D) requires a mandatory sentence for felonious
             assault in a particular circumstance, and R.C. 2929.13(F)(4)
             recognizes that fact. R.C. 2929.13(F)(6) requires a mandatory
             sentence in an additional circumstance and is not inconsistent
             with R.C. 2929.13(F)(4). In our view, the legislature's
             recognition in the felonious assault statute of one
             circumstance in which a mandatory sentence was
             appropriate-where a peace officer is seriously injured, even
             on a first offense-and its recognition of additional
             circumstances under the sentencing statute, such as for
             repeat serious offenders, does not create a conflict. Thus, the
             trial court properly imposed a mandatory sentence under R.C.
             2929.13(F)(6) based on the commission of a previous first or
             second degree felony.

      {¶52} More recently, in State v. Paskins, 2022-Ohio-4024 (5th Dist.) and State v.

Spaulding, 2017-Ohio-7993 (6th Dist.), the Fifth and Sixth District Appellate Courts also

have held that a trial court is required to sentence a defendant to a mandatory prison term

for Felonious Assault if R.C. 2929.13(F)(6) applies.

      {¶53} It is not contested that Appellant had been convicted previously of first and

second degree felonies.     For the foregoing reasons, the court properly sentenced

Appellant to a mandatory prison term under R.C. 2929.13(F)(6).

      {¶54} Appellant’s third assignment of error is without merit.

      {¶55} Fourth assignment of error: “The trial court erred and prejudiced

[Appellant] when it granted the State’s motion and called Cynthia Flitcraft as a court

witness.”
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Case No. 2023-L-113
       {¶56} Appellant asserts two arguments under this assignment. First, he argues

that the trial court erred in calling Cynthia as the court’s witness. He also contends that

trial counsel rendered ineffective assistance when he did not oppose the State’s motion

to call Cynthia as the court’s witness.

       {¶57} Because Appellant did not oppose the motion below, we review his first

argument for plain error.

       {¶58} Crim.R. 52(B) provides that “[p]lain errors or defects affecting substantial

rights may be noticed although they were not brought to the attention of the court.” “To

prevail under the plain-error standard, a defendant must show that an error occurred, that

it was obvious, and that it affected his substantial rights.” State v. Obermiller, 2016-Ohio-

1594, ¶ 62. The requirement that the error must have affected substantial rights means

that the error must have affected the outcome of trial. State v. Rogers, 2015-Ohio-2459,

¶ 22. “We take ‘[n]otice of plain error . . . with the utmost caution, under exceptional

circumstances and only to prevent a manifest miscarriage of justice.’” Obermiller at ¶ 62,

quoting State v. Long, 53 Ohio St.2d 91, 97 (1978).

       {¶59} Pursuant to Evid.R. 614(A): “[t]he court may, on its own motion or at the

suggestion of a party, call witnesses, and all parties are entitled to cross-examine

witnesses thus called.”

       {¶60} “The court's power to call a witness pursuant to Evid.R. 614(A) is inherent,

and should be exercised in fulfillment of the court's fundamental obligation to assist in

arriving at the truth.” State v. Brown, 2015-Ohio-950, ¶ 15 (11th Dist.), citing State v.

Davis, 1993 WL 548033 (11th Dist. Dec. 10, 1993), citing Evid.R. 614(A), Staff Notes.

“The decision whether to call individuals as witnesses of the court is a matter within the

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Case No. 2023-L-113
trial court's discretion.” Id., citing State v. Knapp, 2012-Ohio-2354, ¶ 69 (11th Dist.).

Accordingly, “‘a trial court does not abuse its discretion in calling a witness as a court's

witness when the witness's testimony would be beneficial to ascertaining the truth of the

matter and there is some indication that the witness's trial testimony will contradict a prior

statement made to police.” Id., citing State v. Schultz, 2005-Ohio-345, ¶ 29 (11th Dist.).

       {¶61} This court has previously recognized that it may be the most prudent course

to actually determine whether a witness is varying materially from prior statements before

calling her as a court's witness for impeachment purposes. Knapp, at ¶ 72. Still, Evid.R.

614 does not mandate this method of calling a court's witness. And, “[t]his procedure is

not necessary where the trial judge is reasonably justified in believing that the calling of

the person as a court witness would benefit the jury in performing its fact-finding

responsibilities.” Id., citing State v. Adams, 62 Ohio St.2d 151, 158 (1980). Accordingly,

“Evid.R. 614(A) does not require a witness to be shown hostile or shown that she will

testify inconsistently prior to a court calling that witness.” State v. Brown, 2015-Ohio-950,

¶ 19 (11th Dist.).

       {¶62} In this case, the State moved for Cynthia to be called as the court’s witness

because the State believed she would be aligned with Appellant’s defense, and she may

have testified contrary to the State’s case. As the only witness to the October 29, 2022

events other than Spooner, Cynthia’s testimony was fundamental to assist the trier of fact

in arriving at the truth.

       {¶63} Appellant contends that he was prejudiced by her testimony because it

allowed the State to ask Cynthia leading questions, to many of which she replied that she

did not remember some things or having previously testifying about them. We do not find

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this argument persuasive. Cynthia’s responses regarding her lack of memory did not

incriminate Appellant. In fact, Cynthia’s testimony supported Appellant’s character, as

she testified that she did not believe he had stabbed her or Spooner.

       {¶64} The trial’s outcome would not have changed if she had not testified. Her

answers did not provide any additional support for the State’s case. In fact, her testimony

proved nothing. She never was asked to confirm or deny the truth of her grand jury

testimony. She simply said she did not remember giving most of it. Moreover, Spooner’s

testimony already had detailed the October 29 events.

       {¶65} Importantly, Evid.R. 614(A) grants the court inherent authority to call a

court’s witness. Appellant has not demonstrated that the court erred and abused its

discretion in calling Cynthia as the court’s witness.

       {¶66} We next consider whether or not trial counsel rendered ineffective

assistance.

       {¶67} “‘In evaluating ineffective assistance of counsel claims, Ohio appellate

courts apply the two-part test enunciated by the United States Supreme Court in

Strickland v. Washington (1984), 466 U.S. 668[.]” State v. Woodard, 2010-Ohio-2949, ¶

11 (11th Dist.). “First, it must be determined that counsel's performance fell below an

objective standard of reasonableness.” Id. “Second, it must be shown that prejudice

resulted.” Id. “Prejudice exists when ‘the result of the trial would have been different’ but

for counsel's ineffectiveness.’” Id., quoting State v. Bradley, 42 Ohio St.3d 136 (1989),

paragraph 3 of the syllabus.

       {¶68} In applying the foregoing standard, a reviewing court indulges a strong

presumption that counsel's conduct is within the wide range of reasonable professional

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representation. Strickland at 689. An attorney's arguably reasoned strategic or tactical

decisions do not generally constitute ineffectiveness. State v. Phillips, 74 Ohio St.3d 72,

85 (1995).

         {¶69} Having found that Appellant did not establish prejudice from Cynthia’s being

called as the court’s witness, Appellant’s argument that his trial counsel was ineffective

for failing to oppose the motion similarly fails.

         {¶70} Appellant’s fourth assignment of error is without merit.

         {¶71} Fifth assignment of error: “[Appellant] suffered prejudice from the

prosecution’s improperly questioning court witness [Cynthia Flitcraft] by implying

alleged grand jury statements to be considered as evidentiary testimony.”

         {¶72} Appellant raises two arguments under this assignment. First, he argues

that the trial court erred in permitting the State to question Cynthia on her grand jury

statements. He also contends that trial counsel rendered ineffective assistance for failing

to object.

         {¶73} Appellant did not object below. Thus, we review his first argument for plain

error.

         {¶74} Appellant argues plain error because the trial court allowed the State to read

the statements aloud without first letting the witness read them and because the questions

were asked for the purpose of reading the statements into evidence instead of refreshing

Cynthia’s recollection. We disagree for the following reasons.

         {¶75} First, we do not know why, or to what end, the State proceeded as it did.

Second, it does not matter. The answers the State’s questions elicited did nothing to

prove any element of the alleged offenses, and Spooner’s testimony had provided ample

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(and unrebutted) evidence for those.          Appellant has not shown that the trial court

committed plain error.

       {¶76} At most, if the court erred, it was harmless in this case because there was

other sufficient evidence on which a jury could find Appellant guilty. Importantly, Spooner

had already testified in detail to the events before Cynthia testified. The substance of the

questions did not reveal new information to the jury, nor did Cynthia’s responses

substantiate their truthfulness. Moreover, the court instructed the jury that “[e]vidence is

all the testimony received from the witnesses . . .” It did not instruct the jury that questions

asked to witnesses were considered evidence.

       {¶77} Having found that Appellant did not establish that the trial’s outcome would

have been different, Appellant’s argument that his trial counsel was ineffective for failing

to object to the questions similarly fails.

       {¶78} Appellant’s fifth assignment of error is without merit.

       {¶79} Sixth assignment of error: “Admission of prior bad acts evidence and

failure to declare a mistrial.”

       {¶80} Under his sixth assignment of error, Appellant argues that the court erred in

not declaring a mistrial when certain statements regarding Appellant’s prior convictions

were played to the jury through his recorded interview. He also argues that trial counsel

was ineffective for failing to move for a mistrial.

       {¶81} Appellant did not object at trial. We therefore review for plain error.

       {¶82} The decision to deny or grant a motion for mistrial lies within the sound

discretion of the trial court. State v. Garner, 74 Ohio St.3d 49, 59 (1995). “A mistrial

should be declared only when the ends of justice so require and ‘a fair trial is no longer

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possible.’” State v. Franklin, 62 Ohio St.3d 118, 127 (1991). If a mistrial is based on

erroneously admitted evidence, that evidence should be “‘of an exceptionally prejudicial

character such that its withdrawal from consideration by the jury cannot be expected to

remove the harm.’” State v. Marshall, 2014-Ohio-4677, ¶ 29 (8th Dist.), quoting United

States v. Carr, 5 F.3d 986, 993 (6th Cir. 1993).

       {¶83} Evid.R. 404(B) provides: “Evidence of any other crime, wrong, or act is not

admissible to prove a person's character in order to show that on a particular occasion

the person acted in accordance with the character.” “This type of evidence is commonly

referred to as ‘propensity evidence’ because its purpose is to demonstrate that the

accused has a propensity or proclivity to commit the crime in question.” State v. Hartman,

2020-Ohio-4440, ¶ 21, citing State v. Curry, 43 Ohio St.2d 66, 68 (1975).

       {¶84} “While it is generally true that deference is given to trial counsel's tactical

decisions, evidence of other crimes that comes before the jury due to defense counsel's

neglect, ignorance, or disregard of key facts or defendant's rights—and that bears no

reasonable relationship to a legitimate trial strategy—can be sufficient to render counsel's

performance deficient.” State v. J.J.S., 2024-Ohio-2645, ¶ 31 (10th Dist.).

       {¶85} It is uncontested in this case that any statements relating to Appellant’s prior

convictions were supposed to be redacted from the recorded interview shown to the jury.

The statements at issue are: (1) one instance in which a person referred to Appellant and

said “right before he went in”; and (2) at least two instances where Appellant said “I’ve

always admit [sic] to everything I’ve done. I always have.”

       {¶86} These statements are not “extremely prejudicial.”          No details on his

convictions were revealed in the video. Moreover, the court noted to counsel that it

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amounted to “two seconds” of an almost two hour video. The court, in its discretion,

decided to not draw the jury’s attention to the statements. There is also nothing in the

record to demonstrate that a jury would hear those statements and use it to prove

Appellant acted in accordance with his prior convictions.

       {¶87} Appellant has not demonstrated that the court committed plain error, and

that the trial’s outcome would have been different, if the statements were redacted.

       {¶88} Trial counsel’s decision to not move for a mistrial was trial strategy. Trial

counsel expressed this when the court asked if he wanted the court to instruct the jury to

disregard the statements. Trial counsel replied that he did not want to draw attention to

the statements. Moreover, Appellant did not demonstrate that he was prejudiced or that

the trial outcome would have been different.

       {¶89} Appellant’s sixth assignment of error is without merit.

       {¶90} Seventh assignment of error: “[Appellant] was prejudiced where the

defense(s) of involuntary act(s) and blackout were not raised/argued and the jury

was not instructed on involuntary acts/blackout or to consider it in reaching its

verdict.”

       {¶91} “A trial court has broad discretion to decide how to fashion jury instructions,

but it must ‘fully and completely give the jury all instructions which are relevant and

necessary for the jury to weigh the evidence and discharge its duty as the fact finder.’”

State v. White, 2015-Ohio-492, ¶ 46, quoting State v. Comen, 50 Ohio St.3d 206 (1990),

paragraph two of the syllabus. “Requested jury instructions should ordinarily be given if

they are correct statements of law, if they are applicable to the facts in the case, and if

reasonable minds might reach the conclusion sought by the requested instruction.” State

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v. Adams, 2015-Ohio-3954, ¶ 240, citing Murphy v. Carrollton Mfg. Co., 61 Ohio St.3d

585, 591 (1991).

       {¶92} Involuntary acts are “[r]eflexes, convulsions, body movements during

unconsciousness or sleep, and body movements that are not otherwise a product of the

actor's volition . . ..” R.C. 2901.21(F)(2).

       {¶93} The blackout defense applies where a person commits an act while

unconscious, as in a blackout, due to disease, injury, sleep, or heart failure. State v.

Blanton, 2023-Ohio-89, ¶ 38 (2d Dist.) citing Ohio Jury Instructions, CR Section 417.07,

paragraph one. “Under those circumstances, such act is not a criminal offense even

though it would be a crime if such act were the product of a person's will or volition.” Id.
Thus, the blackout defense requires proof that the defendant was “unconscious” and

acted involuntarily during the offense. Id. at ¶ 35-40 citing State v. Cutlip, 2001 WL

687493 (11th Dist. June 15, 2001). “Blackout or unconsciousness is a defense only

where such condition is involuntary[.]” Id. at * 7.

       {¶94} To obtain a jury instruction on the blackout defense, a defendant must

present evidence that he committed the offense while he was unconscious, as in a

blackout due to disease or injury. State v. Nicholson, 2024-Ohio-604, reconsideration

denied, 2024-Ohio-1577, ¶ 334, citing State v. Ireland, 2018-Ohio-4494, ¶ 1, 4, 6, 24-26.

       {¶95} Appellant asserts that trial counsel was ineffective for failing to raise the

defenses of involuntary acts and blackout, and for failing to request jury instructions on

those defenses.

       {¶96} Appellant has not demonstrated that he was entitled to the defenses or jury

instructions of involuntary acts or blackout. Specifically, he has not shown that his bodily

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Case No. 2023-L-113
movements were not a product of his own volition.            The facts here are important.

Appellant stabbed Spooner while threatening that he was going to kill him. He then

calmed down and cleaned off the knife. There is nothing in the record to suggest these

acts were not on Appellant’s own volition.

       {¶97} Appellant also is not entitled to a blackout defense or jury instruction

because any unconsciousness he claims would have been caused by his own voluntary

intoxication. Likewise, we analyzed under Appellant’s second assignment of error that

he has not shown that he was unconscious when the incident occurred. Even if we were

to accept Appellant’s argument, his unconsciousness was not caused by disease, injury,

sleep, or heart failure.

       {¶98} Appellant has not demonstrated that trial counsel was ineffective for failing

to raise the defenses or for failing to request the jury instructions.

       {¶99} Appellant’s seventh assignment of error is without merit.

       {¶100} Eighth assignment of error: “[Appellant] was prejudiced by the jury

instruction and State’s comments that voluntary intoxication may not be

considered in determining if [he] intended the attempted murder.”

       {¶101} Appellant specifically contends that the court’s jury instruction “that

voluntary intoxication may not be considered by the jury in determining if [Appellant] acted

purposely was in error and defense counsel was required to object.” Appellant did not

object below. Thus, we review for plain error.

       {¶102} “Requested jury instructions should ordinarily be given if they are correct

statements of law, if they are applicable to the facts in the case, and if reasonable minds



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Case No. 2023-L-113
might reach the conclusion sought by the requested instruction.” Adams, 2015-Ohio-

3954 at ¶ 240, citing Murphy v. Carrollton Mfg. Co., 61 Ohio St.3d at 591.

       {¶103} As noted in our discussion of appellant’s second assignment of error, R.C.

2901.21(E) provides: “Voluntary intoxication may not be taken into consideration in

determining the existence of a mental state that is an element of a criminal offense.

Voluntary intoxication does not relieve a person of a duty to act if failure to act constitutes

a criminal offense. Evidence that a person was voluntarily intoxicated may be admissible

to show whether or not the person was physically capable of performing the act with which

the person is charged.”

       {¶104} The court in this case provided the following instruction to the jury:

                [I]n determining the existence of a mental state that is an
                element of any of the crimes defined above, voluntary
                intoxication may not be taken into consideration. Evidence
                that a person was voluntarily intoxicated, may be admissible,
                however, to show whether or not the person was physically
                capable of performing the acts with which the person is
                charged. Intoxication is not an excuse for an offense.
                However, evidence of intoxication has been admitted for the
                purpose of showing that the defendant was so intoxicated that
                he/she was incapable of performing the act with which he/she
                has been charged.

       {¶105} The jury instruction provided was proper because it was a correct statement

of the law. The jury instruction adequately tracks R.C. 2901.21(E). Appellant was not

prejudiced by the court’s instructing the jury that “in determining the existence of a mental

state that is an element of any of the crimes defined above, voluntary intoxication may

not be taken into consideration.” That is the law that the jury needed to assist in its

deliberation.

       {¶106} Appellant has not shown that trial counsel rendered ineffective assistance.

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Case No. 2023-L-113
       {¶107} Appellant’s eighth assignment of error is without merit.

       {¶108} Ninth assignment of error: “[Appellant] was prejudict [sic] by the

cumulative failure of the trial court and trial counsel which resulted in improper

convictions.”

       {¶109} Appellant argues under his final assignment of error: “If this Court has found

that the prejudice caused on any single error was not enough to warrant vacating the

convictions it should find the totality of the errors prejudicial and vacate the convictions

on the basis of cumulative error.”

       {¶110} This argument is without merit. We have analyzed each assignment of error

and have found that Appellant’s arguments were without merit. We decline to accept

Appellant’s “cumulative error” argument as we did not find reversible error in our analyses.

       {¶111} Appellant’s ninth assignment of error is without merit.

       {¶112} The judgment of the Lake County Court of Common Pleas is affirmed.




EUGENE A. LUCCI, P.J.,

ROBERT J. PATTON, J.,

concur.




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